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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 0:20-CV-61872-AHS


     ALAN DERSHOWITZ

                    Plaintiff,
     vs.

     CABLE NEWS NETWORK, INC.

                 Defendant.
     ________________________________________/

           MOTION TO STRIKE CNN’S OPPOSTION (ECF 137)TO PLAINTIFF’S
                     MOTION FOR CLARIFICATION (ECF123)

            Pursuant to the rules of this court, all oppositions to motions dealing with

     discovery matters (matters before Magistrate Judge Valle) are due no later than seven (7)

     days from the date of the motion. Accordingly, if CNN desired to file an opposition, it

     was due on June 1, 2022. Consequently, its opposition should be stricken.

            In the event that this court does not strike it for untimeliness, it should be stricken

     nonetheless for actually being an opposition memorandum to a motion for

     reconsideration that does not exist and, quite frankly, makes little sense. Plaintiff did not

     ask this court to reconsider its decision. Plaintiff only asked this court to clarify what it

     meant to rule. This court does not need CNN’s thirteen-page memorandum, in which it

     reargues the merits of its objection to plaintiff’s interrogatory 4, to tell us what it meant to

     rule. Simply put, CNN thinks this court meant to rule and did rule that it does not have to

     produce incriminating emails post tort and only incriminating emails made the day after

     the defamatory broadcasts. Plaintiff believes this court meant to compel CNN to produce

     the incriminating emails. At no point did plaintiff suggest that the Court revisit the
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     merits. All plaintiff sought in his motion was clarification of what this court really

     meant.


                              CERTIFICATE OF SERVICE
              I HEREBY CERTIFY that on June 9, 2022, I electronically filed the foregoing
     with the Clerk of Court by using the CM/ECF system which will send a notice of electronic
     filing to the following: Katherine M. Bolger, Esq, at katebolger@dwt.com, Oran, Hilary
     <HilaryOran@dwt.com>; Feder, Eric <EricFeder@dwt.com>; Holoszyc-Pimentel,
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                                          By:____/s/ Brian M. Rodier________
                                                 BRIAN M. RODIER, ESQ.
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